                 Case 07-16288                               Doc 1
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                              United States Bankruptcy Court
                                                                                        Voluntary Petition
                         Northern District of Illinois Eastern Division
 Name of Debtor (if individual, enter Last, First, Middle):                                               Name of Joint Debtor (Spouse) (Last, First, Middle)

                        Hollifield, Jonathan David                                                                                     Hollifield, Amy, Marie
 All Other Names used by the Debtor in the last 8 years; (include married, maiden                             All Other Names used by the Joint Debtor in the last 8 years; (include married,
 and trade names):                                                                                            maiden and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No (if more than one,                        Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No (if more than one,
state all)                                                                                                state all
                              ***-**-2718                                                                                                        ***-**-5424
 Street Address of Debtor (No. & Street, City, and State):                                                Street Address of Joint Debtor (No. & Street, City, and State):

 3140 Butler Ave.                                                                                             3140 Butler Ave.
 Steger IL                                                                             60475                  Steger IL                                                                      60475
 County of Residence or of the Principal Place of Business:                                               County of Residence or of the Principal Place of Business:


                                                 COOK                                                                                                   COOK
 Mailing Address of Debtor (if different from street address)                                             Mailing Address of Joint Debtor (if different from street address):




 Location of Principal Assets of Business Debtor (if different from street address above):

       Type of Debtor (Form of Organization)                            Nature of Business                            Chapter of Bankruptcy Code Under Which the Petition is Filed (Check one box)
                   (Check one box)                                         (Check one box.)

                                                               Heath Care Business                                 Chapter 7
          Individual (includes Joint Debtors)                                                                                                                 Chapter 15 Petition for Recognition
                                                               Single Asset Real Estate as                         Chapter 9                                  of a Foreign Main Proceeding
          Corporation (includes LLC & LLP)                     defined in 11 U.S.C 101 (51B)                       Chapter 11
         See Exhibit D on page 2 of this form                  Railroad                                            Chapter 12                                 Chapter 15 Petition for Recognition
          Partnership                                          Stockbroker                                         Chapter 13                                 of a Foreign Nonmain Proceeding
                                                               Commodity Broker
            Other (If debtor is not one of the                                                                                                Nature of Debts (Check one Box)
            above entities, check this box and                 Clearing Bank
            state type of entity below.)
                                                               Other                                              Debts are primarily consumer                     Debts are primarily business
                                                                                                                  debts, defined in 11 U.S.C.                      debts.
                                                                         Tax-Exempt Entity
                                                                       (Check box, if applicable.)                § 101(8) as "incurred by an
                                                                                                                  individual primarily for a
                                                               Debtor is a tax-exempt
                                                                                                                  personal, family, or household
                                                               organization under Title 26 of the
                                                                                                                  purpose."
                                                               United States Code (the Internal
                                                               Revenue Code).

                                      Filing Fee (Check one box)                                                                              Chapter 11 Debtors
                                                                                                          Check one box
     Filing Fee attached                                                                                       Debtor is a small business debtor as defined in 11 U.S.C. Sec 101(51D)
                                                                                                                    Debtor is not a small business debtor as defined in 11 U.S.C. Sec. 101(51D)
     Filing Fee to be paid in installments (applicable in individuals only). Must attach                  Check if:
     signed application for the court's consideration certifying that the debtor is                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
     unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                             insiders or affliates) are less than 2 million.

     Filing Fee wavier requested (applicable to chapter 7 individuals only). Must                         Check all applicable boxes:
     attach signed application for the court's consideration. See Official Form 3B.                            A plan is being filed with this petition.
                                                                                                                    Acceptances of the plan were solicited prepetition from one of more classes
                                                                                                                    of creditors, in acccordance with 11 U.S.C. § 1126(b).
    Statistical/Administrative Information                                                                                                                                   This space is for court use only
     Debtor estimates that funds will be available for distribution to unsecured credtiors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no
     funds available for distribution to unsecured creditors.

 Estimated Number of Creditors
       1-               50-          100-               200-           1,000-           5,001-       10,001            25,001       50,001           Over
       49               99           199                999            5,000            10,000       25,000            50,000       100,000         100,000



 Estimated Assets
               $0 to                            $10,000 to                      $100,000 to                    $1 million to
                                                                                                                                              More than $100 million
              $10,000                           $100,000                         $1 million                    $100 million

 Estimated Liabilities
               $0 to                            $50,000 to                      $100,000 to                    $1 million to                  More than $100 million
              $50,000                           $100,000                         $1 million                    $100 million


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                                           Voluntary Petition                                          Name of Debtor(s)
                      This page must be completed and filed in every case)                                                             Hollifield, Jonathan David
                                                                                                                                          Amy Marie Hollifield
                                                     All Prior Bankruptcy Case Filed Within Last 8 Years (if more than two, attach additional sheet)
Location Where Filed:                                                                                  Case Number:                                          Date Filed:




                                       Pending Bankruptcy Case Filed by any Spouse, Partner, or Affilate of this Debtor (if more than one, attach additional sheet)

Name of Debtor:                                                                                        Case Number:                                         Date Filed:



District:                                                                                              Relationship:                                         Judge:




                                               Exhibit A                                                                                            Exhibit B
                                                                                                                  (To be completed if debtor is an individual whose debts are primarily consumer debts.)
    To be completed if debtor is required to file periodic reports (e.g. ,
    forms 10K and 10Q with the Securities and Exchange Commission                                        I, the attorney for the petitioner named in the foregoing petition, declare
    pursuant to Section 13 or 15 (d) of the Securities Exchange Act of                                   that I have informed the petitioner that (he or she) may proceed under
    1934 and is requesting relief under chapter 11.)                                                     chapter 7, 11, 12 or 13 of title 11, United States Code, and have
                                                                                                         explained the relief available under each such chapter. I further certify
                                                                                                         that I have delivered to the debtor the notice required by 11 USC §
                                                                                                         342(b).
            Exhibit A is attached and made a part of this petition.
                                                                                                                                 /s/ Juan M Villalpando
                                                                                                         Juan M Villalpando                                                            Dated: 09/06/2007


                                                                                               Exhibit C
                  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

            Yes, and Exhibit C is attached and made a part of this petition.

            No.

                                                                                               Exhibit D
                                  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
            If this is a joint petition:
            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                      Information Regarding the Debtor - Venue
                                                                                      (Check the Applicable Box.)
                           Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                           days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.


                            There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                            Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United
                            States in this District, or has no principal place of business or assets in the United States but is a defendant in an action
                            or proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the
                            relief sought in this District.


                                                Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                     Check all applicable boxes.
                            Landlord has a judgment aga inst the debtor for possession of debtor's residence. (If box checked, complete the
                            following.)
                                                             (Name of landlord that obtained judgment)



                                                             (Address of Landlord)

                           Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                           permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                           possession was entered, and

                           Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                           period after the filing of the petition.




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                              Voluntary Petition                                   Name of Joint Debtor(s)
                 This page must be completed and filed in every case)
                                                                                                               Hollifield, Jonathan David
                                                                                                                   Amy Marie Hollifield

                                                                            Signatures

            Signature(s) of Debtor(s) (Individual/Joint)                                             Signature of a Foreign Representative
  I declare under penalty of perjury that the information provided in                 I declare under penalty of perjury that the information provided in this petition
                                                                                      is true and correct, that I am the foreign representative of a debtor in a
  this petition is true and correct.
                                                                                      foreign proceeding, and that I am authorized to file this petition
  [If petitioner is an individual whose debts are primarily consumer                  (Check only one box.)
  debts and has chosen to file under chapter 7] I am aware that I may                 I request relief in accordance with chapter 15 of title 11, United States Code.
  proceed under chapter 7,11, 12 or 13 of title 11, United States                     Certified copies of the documents required by 11 U.S.C. § 1515 are
  Code, understand the relief available under each such chapter, and                  attached.
  choose to proceed under chapter 7.
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter
  [If no attorney represents me and no bankruptcy petition preparer                   of title 11 specified in this petition. A certified copy of the order granting
  signs the petition] I have obtained and read the notice required by                 recognition of the foreign main proceeding is attached.
  11 U.S.C. § 342(b).
  I request relief in accordance with the chapter of title 11, United
  States Code, specified in this petition.
                                                                                      Signature of Foreign Representative                                        Date:

                                                                                      Printed Name of Foreign Representative
                 /s/ Jonathan David Hollifield
                  Jonathan David Hollifield                                          << Sign & Date on Those Lines
                                                     Dated:         08/28/2007

                      /s/ Amy Marie Hollifield
                      Amy Marie Hollifield
                                                                                     << Sign & Date on Those Lines
                                                     Dated:         08/28/2007

                           Signature of Attorney                                                    Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                    /s/ Juan M Villalpando                                            as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation
                                                                                      and have provided the debtor with a copy of this document and the notices
   Signature of Attorney for Debtor(s)                                                and information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b);
                                                                                      and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. §
                       Juan M Villalpando                                             110(h) setting a maximum fee for services chargeable by bankruptcy petition
                                                                                      preparers, I have given the debtor notice of the maximum amount before
   Printed Name of Attorney & Bar Number                         Bar No: 6285237      preparing any document for fi ling for a debtor or accepting any fee from the
                                                                                      debtor, as required in that section.
                                                                                      Official Form 19B is attached.
   LAW OFFICES OF PETER FRANCIS GERACI
   55 E. Monroe Street #3400
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
   Chicago IL 60603
   312.332.1800 (PH) 312.332.6354 (FAX)                                               Social Security number (If the bankrutpcy petition preparer is not an
                                                                                      individual, state the Social Security number of the officer, principal,
                                                                                      responsible person or partner of the bankruptcy petition preparer.)

                       Dated: 09/06/2007                                              (Required by 11 U.S.C. § 110.)
                                                                                      Address

          Signature of Debtor (Corporation/Partnerhsip)
                                                                                      Date
  I declare under penalty of perjury that the information provided in this
  petition is true and correct, and that I have been authorized to file this          Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                                      person,or partner whose social security number is provided above.
  petition on behalf of the debtor.
  The debtor requests relief in accordance with the chapter of title 11 ,             Names and Social Security numbers of all other individuals who
  United States Code, specified in this petition.                                     prepared or assisted in preparing this document unless the bankruptcy
                                                                                      petition preparer is not an individual:
  Signature of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional sheets
  Printed Name of Authorized Individual                                               conforming to the appropriate official form for each person.

                                                                                      A bankruptcy petition preparer’s failure to comply with the provisions of title
  Title of Authorized Individual                                                      11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                      imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
  Date




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                                       UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re

 Jonathan David Hollifield and Amy Marie Hollifield, Debtors                                                             Bankruptcy Docket #:


                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUSELING REQUIREMENT
        Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot do
 so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose whatever
 filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and you file another
 bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop creditors' collection
 activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. check one of
the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by the
         United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
         performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
         certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by the
          United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
          performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
          a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
          the agency no later than 15 days after your bankruptcy case is filed.


                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the five
         days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling requirement
         so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.] [Summarize exigent circumstances
         here.]
         ______________________________________________________________________________________________________________
         ______________________________________________________________________________________________________________


              If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still obtain the
        credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from the agency that
        provided the briefing, together with a copy of any debt management plan developed through the agency. Any extension of the 30-day
        deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed within the 30-day
        period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied with your reasons for filing your
        bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.

              4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied
        by a motion for determination by the court.]

                     Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
        of realizing and making rational decisions with respect to financial responsibilities.);

                     Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
        participate in a credit counseling briefing in person, by telephone, or through the Internet.);

                    Active military duty in a military combat zone.


              5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
        does not apply in this district.




 I certify under penalty of perjury that the information provided above is true and correct.



Dated:           08/28/2007                                      /s/ Jonathan David Hollifield                                                           Sign & Date
                                                                                                                                                            Here
                                                                    Jonathan David Hollifield



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                                       UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re

 Jonathan David Hollifield and Amy Marie Hollifield, Debtors                                                             Bankruptcy Docket #:


                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUSELING REQUIREMENT
        Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot do
 so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose whatever
 filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and you file another
 bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop creditors' collection
 activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. check one of
the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by the
         United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
         performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
         certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by the
          United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
          performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
          a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
          the agency no later than 15 days after your bankruptcy case is filed.


                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the five
         days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling requirement
         so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.] [Summarize exigent circumstances
         here.]
         ______________________________________________________________________________________________________________
         ______________________________________________________________________________________________________________


              If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still obtain the
        credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from the agency that
        provided the briefing, together with a copy of any debt management plan developed through the agency. Any extension of the 30-day
        deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed within the 30-day
        period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied with your reasons for filing your
        bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.

              4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied
        by a motion for determination by the court.]

                     Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
        of realizing and making rational decisions with respect to financial responsibilities.);

                     Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
        participate in a credit counseling briefing in person, by telephone, or through the Internet.);

                    Active military duty in a military combat zone.


              5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
        does not apply in this district.




 I certify under penalty of perjury that the information provided above is true and correct.



                                                                      /s/ Amy Marie Hollifield                                                           Sign & Date
Dated:           08/28/2007                                                                                                                                 Here
                                                                        Amy Marie Hollifield


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                                      UNITED STATES BANKRUPTCY COURT
In re
                                 NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors                                                  Bankruptcy Docket #:
 Attorney for Debtor: Juan M Villalpando




                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR - 2016B
 1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
 that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
 rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        The compensation paid or promised by the Debtor(s), to the undersigned, is as follows:
        For legal services, Debtor(s) agrees to pay and I have agreed to accept                                                                   $3,500
        Prior to the filing of this Statement, Debtor(s) has paid and I have received                                                             $3,500
        The Filing Fee has been paid.                                                                                   Balance Due                   $0
2.      The source of the compensation paid to me was:

               Debtor(s)                Other: (specify)




3.      The source of compensation to be paid to me on the unpaid balance, if any, remaining is:

               Debtor(s)                Other: (specify)
        The undersigned has received no transfer, assignment or pledge of property from the debtor(s) except the following for the
        value stated: None.
4.      The undersigned has not shared or agreed to share with any other entity, other than with members of the undersigned's law
        firm, any compensation paid or to be paid without the client's consent, except as follows:   None.
5.      The Service rendered or to be rendered include the following:
(a)     Analysis of the financial situation, and rendering advice and assistance to the client in determining whether to file a petition
        under Title 11, U.S.C.
(b)     Preparation and filing of the petition, schedules, statement of affairs and other documents required by the court.
(c) Representation of the client at the first scheduled meeting of creditors.
(d) Advice as required.




                                                                                                     CERTIFICATION
                                                                I certify that the foregoing is a complete statement of any agreement or arrangement
                                                                for payment to me for representation of the debtor(s) in this bankruptcy proceedings.

                                                           Respectfully Submitted,


Dated:            09/06/2007                               /s/ Juan M Villalpando
                                                           Attorney Name:       Juan M Villalpando                                         Bar No: 6285237
                                                           LAW OFFICES OF PETER FRANCIS GERACI
                                                           55 E. Monroe Street #3400
                                                           Chicago IL 60603
                                                           312.332.1800 (PH) 312.332.6354 (FAX)

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                                   UNITED STATES BANKRUPTCY COURT
In re                         NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors
 Attorney for Debtor: Juan M Villalpando




                                                 SCHEDULE A - REAL PROPERTY
   Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as
   a co-tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
   exercisable for the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H, "
   "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
   "Description and Location of Property."

   Do not include interests in executory contracts and unexpired leases on this schedule.                 List them in Schedule G - Executory
   Contracts and Unexpired Leases.


   If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no
   entity claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."



                                                                                         Husband      Current Value of Debtors
                                                                   Nature of               Wife         Interest in Property
                                                                                           Joint       Without Deducting and           Amount of
          Description and Location of Property                  Debtor's Interest
                                                                                            Or           Secured Claim or             Secured Claim
                                                                  in Property
                                                                                        Community            Exemption

3140 Butler Ave. Steger, IL 60475 (Debtor's
Residence)                                                         Fee Simple               H                 $ 149,000                  $ 167,584



                                              Total Market Value of Real Property                           $149,000.00
                                                          (Report also on Summary of Schedules)




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                                        UNITED STATES BANKRUPTCY COURT
In re
                                   NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
Jonathan David Hollifield and Amy Marie Hollifield, Debtors
Attorney for Debtor: Juan M Villalpando




                                                  SCHEDULE B - PERSONAL PROPERTY
  Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
  place an "x" in the appropriate position in the column labled "None." If additional space is needed in any category, attach a separate sheet properly
  identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the
  property by placing an "H," "W," "J," or "C" in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount
  of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interest in executory and unexpired leases on this schedule. List them in Schedule G.
 If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." In
 providing the information in this schedule, do not include the name or address of a minor child. Simpy state a "minor child."


                                                                                                                                       Current Value of
                                                     N                                                                          H
                                                                                                                                      Debtor's Interest in
                                                     O                                                                          W     Property, Without
               Type of Property                                        Description and Location of Property
                                                     N                                                                          J       Deducting Any
                                                     E                                                                          C      Secured Claim or

01. Cash on Hand
                                                     X
02. Checking, savings or other financial
accounts, certificates of deposit or shares in
banks, savings and loan, thrift, building and
loan, and homestead associations or credit
unions, brokerage houses, or cooperatives.

                                                          Manufactuers Bank Checking Account# XXXX5424                           J          $    100
03. Security Deposits with public utilities,
telephone companies, landlords and others.           X
04. Household goods and furnishings,
including audio, video, and computer
equipment.

                                                          Beneficial - necessary household goods                                H           $    500

                                                          Harlem - furniture                                                    H          $    1,000

                                                          Osby - water softener unit                                             J          $    100

                                                          Household goods; TV, DVD Player, VCR/Camcorder,                        J         $    2,800
                                                          Camera, Computer, Sofa, Loveseat, Recliner, Coffee &
                                                          End Tables, Table & Chairs, Small Appliances,
                                                          Washer/Dryer, Microwave, 3 Beds & 3 Dressers, Tools,
                                                          Work Tools, BBQ Grill
05. Books, pictures and other art objects,
antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.

                                                          Books, Compact Discs, Tapes/Records, Family Pictures                   J          $     65
06. Wearing Apparel


                                                          Necessary wearing apparel.                                             J          $    400
07. Furs and jewelry.


                                                          Earrings, watch, costume jewelry, wedding bands                        J          $    200
08. Firearms and sports, photographic, and
other hobby equipment.                               X

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In re
                                   NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
Jonathan David Hollifield and Amy Marie Hollifield, Debtors
Attorney for Debtor: Juan M Villalpando




                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                         Current Value of
                                                      N                                                          H
                                                                                                                        Debtor's Interest in
                                                      O                                                          W      Property, Without
               Type of Property                                     Description and Location of Property
                                                      N                                                          J        Deducting Any
                                                      E                                                          C       Secured Claim or

09. Interests in insurance policies. Name
insurance company of each policy and
itemize surrender or refund value of each.

                                                          Term Life Insurance - No Cash Surrender Value.          H               None
10. Annuities. Itemize and name each issuer.
                                                      X
11. Interests in an educational IRA as
defined in 26 U.S.C 530(b)(1) or under a              X
qualified State tuition plan as defined in 26
U.S.C. 529(B)(1). Give particulars. (File
separately the records(s) of any such
interest(s). 11 U.S.C. 521(c); Rule 1007(b)).
12. Interest in IRA,ERISA, Keogh, or other
pension or profit sharing plans. Give
particulars

                                                          Pension w/ Employer/Former Employer - 100% Exempt.      H          $     5,000
13. Stocks and interests in incorporated and
unincorporated businesses.                            X
14. Interest in partnerships or joint ventures.
Itemize. Itemize.                                     X
15. Government and corporate bonds and
other negotiable and non-negotiable                   X
instruments.
16. Accounts receivable
                                                      X
17. Alimony, maintenance, support and
property settlements to which the debtor is or        X
may be entitled
18. Other liquidated debts owing debtor
including tax refunds. Give particulars.              X
19. Equitable and future interests, life
estates, and rights of power exercisable for          X
the benefit of the debtor other than those
listed in Schedule A - Real Property.
20. Contingent and Non-contingent interests
in estate of a decedent, death benefit plan,          X
life insurance policy, or trust.
21. Other contingent and unliquidated claims
of every nature, including tax refunds,               X
counter claims of the debtor, and rights to
setoff claims. Give estimated value of each.
22. Patents, copyrights and other intellectual
property. Give particulars.                           X
23. Licenses, franchises and other general
intangibles.                                          X



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Jonathan David Hollifield and Amy Marie Hollifield, Debtors
Attorney for Debtor: Juan M Villalpando




                                                 SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                    Current Value of
                                                    N                                                                       H
                                                                                                                                   Debtor's Interest in
                                                    O                                                                       W      Property, Without
                Type of Property                                  Description and Location of Property
                                                    N                                                                       J        Deducting Any
                                                    E                                                                       C       Secured Claim or

24. Customer list or other compilations
containing personally identifiable information      X
(as defined in 11 USC 101 41A provided to
the debtor by individuals in connection with
obtaining a product or service from the debtor
primarily for personal, family, or household
purposes
25. Autos, Truck, Trailers and other vehicles
and accessories.

                                                        2004 Dodge Intrepid w/ 75k miles                                     W          $    9,425
26. Boats, motors and accessories.
                                                    X
27. Aircraft and accessories.
                                                    X
28. Office equipment, furnishings, and
supplies.                                           X
29. Machinery, fixtures, equipment, and
supplie used in business.                           X
30. Inventory
                                                    X
31. Animals
                                                    X
32. Crops-Growing or Harvested. Give
particulars.                                        X
33. Farming equipment and implements.
                                                    X
34. Farm supplies, chemicals, and feed.
                                                    X
35. Other personal property of any kind not
already listed. Itemize.                            X
                                                                                                                Total
                                                                                  (Report also on Summary of Schedules)
                                                                                                                                        $19,590




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 Jonathan David Hollifield and Amy Marie Hollifield, Debtors
 Attorney for Debtor: Juan M Villalpando




                                           SCHEDULE C - PROPERTY CLAIMED EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                      Check if debtor claims a homestead exemption
 (Check one box)                                                                      that exceeds $125,000.
        11 U.S.C. § 522(b)(2)
         11 U.S.C. § 522(b)(3)

                                                                                                                             Current Value of
                                                                                                            Value of         Property without
                                                                           Specify Law Providing Each
                          Description of Property                                                           Claimed             Deducting
                                                                                    Exemption
                                                                                                           Exemption            Exemption

00. Real Property
3140 Butler Ave. Steger, IL 60475 (Debtor's Residence)                         735 ILCS 5/12-901          $ 30,000               $ 149,000



02. Checking, savings or other financial accounts, certificates of
deposit or shares in banks, savings and loan, thrift, building and loan,
and homestead associations or credit unions, brokerage houses, or
cooperatives.
Manufactuers Bank Checking Account# XXXX5424                                   735 ILCS 5/12-1001(b)      $      100             $     100



04. Household goods and furnishings, including audio, video, and
computer equipment.
Household goods; TV, DVD Player, VCR/Camcorder,                                735 ILCS 5/12-1001(b)      $     2,800            $    2,800
Camera, Computer, Sofa, Loveseat, Recliner, Coffee & End
Tables, Table & Chairs, Small Appliances, Washer/Dryer,
Microwave, 3 Beds & 3 Dressers, Tools, Work Tools, BBQ
Grill
05. Books, pictures and other art objects, antiques, stamp, coin,
record, tape, compact disc, and other collections or collectibles.
Books, Compact Discs, Tapes/Records, Family Pictures                            735 ILCS 5/12-1001(a)      $       65             $     65



06. Wearing Apparel
Necessary wearing apparel.                                                    735 ILCS 5/12-1001(a),(e)   $      400             $     400



07. Furs and jewelry.
Earrings, watch, costume jewelry, wedding bands                               735 ILCS 5/12-1001(a),(e)   $      200             $     200



12. Interest in IRA,ERISA, Keogh, or other pension or profit sharing
plans. Give particulars
Pension w/ Employer/Former Employer - 100% Exempt.                             735 ILCS 5/12-1006         $     5,000            $    5,000



25. Autos, Truck, Trailers and other vehicles and accessories.
2004 Dodge Intrepid w/ 75k miles                                               735 ILCS 5/12-1001(c)      $     2,400            $    9,425




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In re

    Jonathan David Hollifield and Amy Marie Hollifield, Debtors
    Attorney for Debtor: Juan M Villalpando




                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of
    the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
    and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
    garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
         List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose
    the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name address, and legal relationship to the minor child of a person
    described in in Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on
    the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
    marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
         If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
    “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three
    columns.)
          Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s )
    on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on
    the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled "Unsecured
    Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.

            Check this box if debtor has no creditors holding unsecured claims to report on this Schedule D.

                                                                                   * Date Claim was Incured                                                       Amount of
                                                                     H




                                                                                                                                        Unliquidated
                                                                                                                           Contingent
                                                          Codebtor




                                                                                                                                                       Disputed
                                                                                                                                                                    Claim        Unsecured
                                                                     W                  * Nature of Lien
        Creditor's Name and Mailing Address                                                                                                                        Without       Portion, If
                                                                     J         *Value of Property Subject to Lien
         Including Zip and Account Number                                                                                                                         Deducting         Any
                  (See Instructions Above)                           C              *Description of Property                                                       Value of


1     AMC Mortgage                                                   H           Dates: 2004
                                                                                                                                                                  $ 155,584       $ 6,584
                                                                         Nature of Lien: Mortgage
      Bankruptcy Department
                                                                         Market Value : $ 149,000
      PO Box 5926
                                                                             Intention:
      Carol Stream IL 60197
                                                                         *Description: 3140 Butler Ave. Steger, IL
      Acct No.:      0114548043                                                        60475 (Debtor's Residence)


2     AMC Mortgage                                                   H           Dates: 2005
                                                                                                                                                                  $ 12,000           $0
                                                                         Nature of Lien: Mortgage Arrears
      Bankruptcy Department
                                                                         Market Value : $ 149,000
      PO Box 5926
                                                                             Intention:
      Carol Stream IL 60197
                                                                         *Description: 3140 Butler Ave. Steger, IL
      Acct No.:      0114548043                                                        60475 (Debtor's Residence)


3     Beneficial                                                     H           Dates: 2005
                                                                                                                                                                  $ 18,300       $ 17,800
                                                                         Nature of Lien: Non-Purchase Money Security
      Attn: Bankruptcy Dept.
                                                                         Market Value : $    500
      8752 W. 159th Street
                                                                             Intention:
      Orland Park IL 60462
                                                                         *Description: Beneficial - necessary
      Acct No.:      411730235279770                                                   household goods


4     Harlem Furniture                                               H           Dates: 2005
                                                                                                                                                                  $   5,100       $ 4,100
                                                                         Nature of Lien: Purchase Money Sec Int - PMSI
      Bankruptcy Department
                                                                         Market Value : $   1,000
      PO Box 659704
                                                                             Intention:
      San Antonio TX 78265
                                                                         *Description: Harlem - furniture
      Acct No.:      5856370689342575



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In re

    Jonathan David Hollifield and Amy Marie Hollifield, Debtors
    Attorney for Debtor: Juan M Villalpando



                                                                         * Date Claim was Incured                                                       Amount of
                                                           H




                                                                                                                            Unliquidated
                                                                                                               Contingent
                                                Codebtor




                                                                                                                                           Disputed
                                                                                                                                                          Claim          Unsecured
                                                           W                  * Nature of Lien
        Creditor's Name and Mailing Address                                                                                                              Without         Portion, If
                                                           J         *Value of Property Subject to Lien
         Including Zip and Account Number                                                                                                               Deducting           Any
                 (See Instructions Above)                  C              *Description of Property                                                       Value of


5    Osby Water                                            J           Dates:
                                                                                                                                                        $      650          $ 550
                                                               Nature of Lien: Purchase Money Sec Int - PMSI
     Attn: Bankruptcy Dept.
                                                               Market Value : $    100
     618 N. Front
                                                                   Intention:
     Hebron IN 46341
                                                               *Description: Osby - water softener unit
     Acct No.:      88765

6    US Bank                                               W           Dates: 2003
                                                                                                                                                       $ 10,119             $ 694
                                                               Nature of Lien: Lien on Vehicle - PMSI
     Bankruptcy Department
                                                               Market Value : $   9,425
     PO Box 790167
                                                                   Intention:
     Saint Louis MO 63179
                                                               *Description: 2004 Dodge Intrepid w/ 75k
     Acct No.:      000000510562616                                          miles



                                                                                                                  Total                               $ 201,753         $ 29,728

                                                                                                                                             (Report also on          (if applicatble,
                                                                                                                                             Summary of               report also on
                                                                                                                                             Schedules.)              Statistical
                                                                                                                                                                      Summary of
                                                                                                                                                                      Certain Liabilities
                                                                                                                                                                      and Related
                                                                                                                                                                      Data.)




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In re
                                   NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors
 Attorney for Debtor: Juan M Villalpando




                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
       A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
 unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
 including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
 debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
 debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. §
 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
 on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of
 them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
 Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
 labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
 these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
 E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
 entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
 consumer debts who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all


         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
        Domestic Support Obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
        responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
        11 U.S.C. § 507(a)(1).

        Extensions of Credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but bfore the earlier of
        the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
        Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
        qualifying independent sales representatives up to $10,950 * per person earned within 180 days immediately preceding the filing of the original
        petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
        Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

        Certain farmers and fishermen
        Claims of certain farmers and fishermen, up to $5,400 * per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals
        Claims of individuals up to $2,425 * for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
        that were not delivered or provided. 11 U.S.C. § 507(a)(7).
        Taxes and certain other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to maintain the capital of insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
        of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
        (a)(9).
        Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
        alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

* Amounts are subject to adjustment on April 10, 2010, and every three years thereafter with respect to cases commenced on or after the date of adju

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In re
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    Jonathan David Hollifield and Amy Marie Hollifield / Debtors
    Attorney for Debtor:        Juan M Villalpando




               SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding
 unsecured claims without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete
 account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
 debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name.
 See 11 U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a
 person described in Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this
 page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
 include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state
 whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in
 the column labeled “Husband, Wife, Joint, or Community.”

       If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
 column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
 “X” in more than one of these three columns.)

     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule.
 Report this total also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts filing a case
 under chapter 7, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

           Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                                                                                          Unliquidated
                                                                           H



                                                                                                                             Contingent
                                                                                        Date Claim Was Incurred and
                                                                Codebtor




                                                                                                                                                         Disputed
      Creditor's Name, Mailing Address Including                           W                                                                                        Amount of
                                                                                          Consideration For Claim.
             Zip Code and Account Number                                   J                                                                                          Claim
                    (See Instructions Above)
                                                                                   If Claim is Subject to Setoff, So State
                                                                           C


1       AT&T                                                               J   Dates:    2006
        Attn: Bankruptcy Department                                            Reason:   Utility Bills/Cellular Service                                             $    250
        PO Box 8100
        Aurora IL 60507
        Acct #: 2463013

                Law Firm(s) | Collection Agent(s) Representing the Original Creditor

               CCA
               Attn: Bankruptcy Department
               P.O. Box 806
               Norwell MA 02061


2       Bank of America                                                    H   Dates:    2002
        Attn: Bankruptcy Dept.                                                 Reason:   Credit Card or Credit Use                                                  $   7,000
        PO Box 15726
        Wilmington DE 19886
        Acct #: 4313024666336015




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    Jonathan David Hollifield and Amy Marie Hollifield / Debtors
    Attorney for Debtor:      Juan M Villalpando




               SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                               Unliquidated
                                                                H




                                                                                                                  Contingent
                                                                             Date Claim Was Incurred and




                                                     Codebtor




                                                                                                                                              Disputed
      Creditor's Name, Mailing Address Including                W                                                                                        Amount of
                                                                               Consideration For Claim.
             Zip Code and Account Number                        J                                                                                          Claim
                  (See Instructions Above)
                                                                        If Claim is Subject to Setoff, So State
                                                                C


3       Bank of America                                         W   Dates:    2004
        Attn: Bankruptcy Dept.                                      Reason:   Credit Card or Credit Use                                                  $    8,100
        PO Box 15726
        Wilmington DE 19886
        Acct #: 4888603107870339

4       Bank of America/MBNA                                    J   Dates:    2005
        Bankruptcy Department                                       Reason:   Credit Card or Credit Use                                                  $ 17,000
        PO Box 15102
        Wilmington DE 19886
        Acct #: 74974264255636

5       Capital One                                             H   Dates:    2006
        Bankruptcy Department                                       Reason:   Credit Card or Credit Use                                                  $    2,300
        PO Box 60024
        City Of Industry CA 91716
        Acct #: 517805262042

                Law Firm(s) | Collection Agent(s) Representing the Original Creditor

               Account Solutions Group LLC
               Bankruptcy Department
               205 Bryant Woods
               Amherst NY 14228


6       Chicago Sun-Times                                       H   Dates:    2006
        Attn: Bankruptcy Department                                 Reason:   Membership/Subscription                                                     $     20
        PO Box 3591
        Chicago IL 60654
        Acct #: 4051570

                Law Firm(s) | Collection Agent(s) Representing the Original Creditor

               Biehl & Biehl
               Bankruptcy Department
               411 E. Irving park Rd
               Bensenville IL 60106




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    Jonathan David Hollifield and Amy Marie Hollifield / Debtors
    Attorney for Debtor:       Juan M Villalpando




               SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                                Unliquidated
                                                                 H




                                                                                                                   Contingent
                                                                              Date Claim Was Incurred and




                                                      Codebtor




                                                                                                                                               Disputed
      Creditor's Name, Mailing Address Including                 W                                                                                        Amount of
                                                                                Consideration For Claim.
             Zip Code and Account Number                         J                                                                                          Claim
                   (See Instructions Above)
                                                                         If Claim is Subject to Setoff, So State
                                                                 C


7       Citibank                                                 H   Dates:    1994
        Bankruptcy Department                                        Reason:   Credit Card or Credit Use                                                  $   7,200
        PO Box 183036
        Columbus OH 43218
        Acct #: 5424180853228705

                Law Firm(s) | Collection Agent(s) Representing the Original Creditor

               Academy Collection Service
               Bankruptcy Department
               P.O. Box 16119
               Philadelphia PA 19114


8       Ingalls Memorial Hospital                                J   Dates:    2007
        Bankruptcy Department                                        Reason:   Medical/Dental Services                                                    $    120
        1 Ingalls Drive
        Harvey IL 60426
        Acct #: 3642724 200602505550

                Law Firm(s) | Collection Agent(s) Representing the Original Creditor

               Pellettieri & Associates Ltd.
               Bankruptcy Department
               991 Oak Creek Dr.
               Lombard IL 60148


9       Omni 41                                                  H   Dates:    2006
        Attn: Bankruptcy Dept.                                       Reason:   Membership/Subscription                                                    $    300
        221 South Route 41
        Schererville IN 46375
        Acct #: 01313438

10 Physicians Prompt Care                                        H   Dates:    2006
   Attn: Bankruptcy Dept.                                            Reason:   Medical/Dental Services                                                    $    130
   PO Box 2153
   Carol Stream IL 60132
        Acct #: HOLJ0000




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In re
                                NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Jonathan David Hollifield and Amy Marie Hollifield / Debtors
 Attorney for Debtor:         Juan M Villalpando




              SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                               Unliquidated
                                                                H




                                                                                                                  Contingent
                                                                             Date Claim Was Incurred and




                                                     Codebtor




                                                                                                                                              Disputed
    Creditor's Name, Mailing Address Including                  W                                                                                        Amount of
                                                                               Consideration For Claim.
           Zip Code and Account Number                          J                                                                                          Claim
                  (See Instructions Above)
                                                                        If Claim is Subject to Setoff, So State
                                                                C


11 Sprint                                                       J   Dates:    2006
   Bankruptcy Department                                            Reason:   Utility Bills/Cellular Service                                             $     230
   PO Box 4191
   Carol Stream IL 60197
        Acct #: 423870542

               Law Firm(s) | Collection Agent(s) Representing the Original Creditor

              NARS
              Attn: Bankruptcy Department
              PO Box 701
              Chesterfield MO 63006


12 Target National Bank                                         H   Dates:    2005
   Bankruptcy Dept.                                                 Reason:   Credit Card or Credit Use                                                  $     400
   PO Box 59317
   Minneapolis MN 55459
        Acct #: 9353916463

               Law Firm(s) | Collection Agent(s) Representing the Original Creditor

              Account Solutions Group LLC
              Bankruptcy Department
              205 Bryant Woods
              Amherst NY 14228


13 Thomas Halway                                                H   Dates:    2006
   Attn: Bankruptcy Dept.                                           Reason:   Medical/Dental Services                                                     $     20
   6054 W. 159th St
   Oak Forest IL 60452
        Acct #: 2718

14 Village of East Hazel Crest                                  H   Dates:
   Bankruptcy Department                                            Reason:   Fines                                                                      $     250
   17223 S. Throop St.
   E. Hazel Crest IL 60429
        Acct #: P40391




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In re
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 Jonathan David Hollifield and Amy Marie Hollifield / Debtors
 Attorney for Debtor:        Juan M Villalpando




              SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                              Unliquidated
                                                               H




                                                                                                                 Contingent
                                                                            Date Claim Was Incurred and




                                                    Codebtor




                                                                                                                                             Disputed
    Creditor's Name, Mailing Address Including                 W                                                                                        Amount of
                                                                              Consideration For Claim.
           Zip Code and Account Number                         J                                                                                          Claim
                 (See Instructions Above)
                                                                       If Claim is Subject to Setoff, So State
                                                               C


15 Village of East Hazel Crest                                 H   Dates:
   Bankruptcy Department                                           Reason:   Fines                                                                      $    250
   17223 S. Throop St.
   E. Hazel Crest IL 60429
        Acct #: P40327

16 Village of East Hazel Crest                                 J   Dates:    2006
   Bankruptcy Department                                           Reason:   Fines                                                                      $    250
   1206 W. 172nd St.
   East Hazel Crest IL 60429
        Acct #: P40174

17 Village of East Hazel Crest                                 J   Dates:    2006
   Bankruptcy Department                                           Reason:   Fines                                                                      $    250
   1206 W. 172nd St.
   East Hazel Crest IL 60429
        Acct #: P39684

18 Village of East Hazel Crest                                 J   Dates:    2006
   Bankruptcy Department                                           Reason:   Fines                                                                      $    250
   1206 W. 172nd St.
   East Hazel Crest IL 60429
        Acct #: P40391

19 Village of Richton Park                                     H   Dates:
   Attn: Bankruptcy Dept.                                          Reason:   Fines                                                                      $    250
   4455 W. Sauk Trail
   Richton Park IL 60471
        Acct #: P5034547

20 Village of Steger                                           H   Dates:
   Clerk                                                           Reason:   Fines                                                                      $    250
   35 W. 34th St.
   Steger IL 60475
        Acct #: P25048

21 Wells Fargo                                                 H   Dates:    2006
   Bankruptcy Department                                           Reason:   Credit Card or Credit Use                                                  $   3,700
   PO Box 98751
   Las Vegas NV 89193
        Acct #: 4071100010808412

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In re
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 Jonathan David Hollifield and Amy Marie Hollifield / Debtors
 Attorney for Debtor:        Juan M Villalpando




              SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                                  Unliquidated
                                                               H




                                                                                                                     Contingent
                                                                            Date Claim Was Incurred and




                                                    Codebtor




                                                                                                                                                 Disputed
    Creditor's Name, Mailing Address Including                 W                                                                                              Amount of
                                                                              Consideration For Claim.
           Zip Code and Account Number                         J                                                                                                Claim
                 (See Instructions Above)
                                                                       If Claim is Subject to Setoff, So State
                                                               C


22 Wells Fargo                                                 H   Dates:     2006
   Bankruptcy Department                                           Reason:    Personal Loan                                                                   $   1,200
   9632 S. Roberts Rd
   Hickory Hills IL 60457
        Acct #: 10421066658

               Law Firm(s) | Collection Agent(s) Representing the Original Creditor

              Tiburon Financial
              Bankruptcy Deparment
              P.O. Box 770
              Boystown NE 68010


                                                                            Total Amount of Unsecured Claims                                                $ 49,720.00
                                                                                   (Report also on Summary of Schedules)




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In re
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors
 Attorney for Debtor: Juan M Villalpando




                   SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
  Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
  of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
  complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
  indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).



          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                Description of Contract or Lease and Nature of Debtor's
                    Name and Mailing Address,                                  Interest. State whether Lease is for Non-Residential Real
                        Including Zip Code,                                               Property. State Contract Number or
               of Other Parties to Lease or Contract.                                          Any Government Contract.


        [x] None




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In re
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 Jonathan David Hollifield and Amy Marie Hollifield, Debtors
 Attorney for Debtor: Juan M Villalpando




                                                     SCHEDULE H - CODEBTORS
 Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
 debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
 commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
 Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
 any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
 the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
 indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

            Check this box if debtor has no codebtors.



                    Name and Address of CoDebtor                                          Name and Address of the Creditor


        [x] None




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In re
Jonathan David Hollifield and Amy Marie Hollifield, Debtors                                                                        Bankruptcy Docket #:
Attorney for Debtor: Juan M Villalpando


                                         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor, whether or not a joint petition is filed,
 unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

 Debtor's Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE ~ RELATIONSHIP AND AGE
 Status: Married                          Age. 4-Dependent, Age. 9-Dependent, , ,
                                                            DEBTOR EMPLOYMENT                                                           SPOUSE EMPLOYMENT
Occupation:                                Operation Manager                                         Independent Sales Rep
Name of Employer:                          NDC Fabrication                                           Signature Home Styles
Years Employed                              6 months                                                 1 year
Employer Address:                          900 A. Ruell Road                                         3140 Butler Ave
City, State, Zip                           Montgomery, IL 60538                                      Steger, IL 60475

        INCOME: (Estimate of average or projected monthly income at time case filed.)                                      DEBTOR                                       SPOUSE

1. Monthly Gross Wages, Salary, and commissions                                                                               $ 8,333.35                                          $ 135.00
        (Prorate if not paid monthly.)
2. Estimated Monthly Overtime                                                                                                        $ 0.00                                           $ 0.00
3. SUBTOTAL                                                                                                           $ 8,333.35                                                  $ 135.00
4. LESS PAYROLL DEDUCTIONS
    a. Payroll Taxes and Social Security                                                                                      $ 1,990.21                                              $ 0.00
    b. Insurance                                                                                                                   $ 0.00                                             $ 0.00
    c. Union Dues                                                                                                                $ 249.99                                             $ 0.00
    d. Other (Specify)                                                                                                               $ 0.00                                           $ 0.00
                                                                                                    Pension:
                                                                             Voluntary 401 Contributions:                            $ 0.00                                           $ 0.00
                                                                                          Child Support:                             $ 0.00                                          $ 0.00
                                                                    Life Insurance, Uniforrms, 401K Loan:                            $ 0.00                                          $ 0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                             $ 2,240.20                                             $ 0.00


6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                   $ 6,093.15                                        $ 135.00
7. Regular income from operation of business or profession                              or   farm                                    $ 0.00                                           $ 0.00
8. Income from real property                                                                                                         $ 0.00                                           $ 0.00
9. Interest and dividends                                                                                                            $ 0.00                                           $ 0.00
10. Alimony, maintenance or support payments payable to the debtor
                                                                                                                                     $ 0.00                                           $ 0.00
     for the debtor's use or that of dependents listed above.
11. Social Security or government assistance (Specify)                                                                              $ 0.00                                            $ 0.00
12. Pension or retirement income                                                                                                    $ 0.00                                            $ 0.00
13. Other monthly income                                                                                                            $ 0.00                                            $ 0.00
        (Specify:)                                                                                      & &

                                                                                   Unemployment Income                               $ 0.00                                           $ 0.00
14. SUBTOTAL OF LINES 7 THROUGH 13

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                       $ 6,093.15                                      $ 135.00

16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals fromline 15;                                                                      $ 6,228.15
if there is only one debtor repeat total reported on line 15.)
                                                                                                               Report also on Summary of Schedules and, if applicable, on Statistical Summary
                                                                                                               of Certain Liabilities and Related Data.)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
      None


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                                    NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re

Jonathan David Hollifield and Amy Marie Hollifield, Debtors                                                               Bankruptcy Docket #:
Attorney for Debtor: Juan M Villalpando


                          SCHEDULE J - CURRENT EXPENSES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
 payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.
         Check box if joint petition is filed & debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled "Spouse".

1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                            $-
        a. Real Estate taxes included?                  [x] Yes [ ] No              b. Property insurance included?                  [x] Yes [ ] No
2. Utilities:        a. Electricity and Heating Fuel                                                                                                             $ 300.00
                     b. Water and Sewer                                                                                                                          $ 95.00
                     c. Telephone                                                                                                                                $ 150.00
                     d. Other          Garbage, Internet, Cable                                                                                                  $ 140.00
3. Home Maintenance (repairs and upkeep)                                                                                                                         $ 50.00
4. Food                                                                                                                                                          $ 450.00
5. Clothing                                                                                                                                                      $ 45.00
6. Laundry and Dry Cleaning                                                                                                                                      $ 10.00
7. Medical and Dental Expenses                                                                                                                                   $ 80.00
8. Transportation (not including car payments)    Gas, Tolls/Parking, Fees/Licenses, Repair, Bus/Train                                                           $ 538.00
9. Recreation, Clubs and Entertainment, Newspapers, Magazines, etc.                                                                                              $-
10. Charitable Contributions                                                                                                                                     $-
11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                                                                                 $-
               a. Homeowner's or Renter's
                                                                                                                                                                 $-
                     b. Life
                     c. Health                                                                                                                                   $-
                     d. Auto                                                                                                                                     $ 100.00
                     e. Other                                                                                                                                    $-
12. Taxes (not deducted from wages or included in home mortgage payments)
        (Specify)       Federal or State Tax Repayments, Real Estate Taxes                                                                                       $-
13. Installment Payments: (In Chapter 11, 12, and 13 cases, do not list payments to be included in plan)
               a. Auto                                                                                                                                           $-
               b. Reaffirmation Payments                                                                                                                         $-
               c. Other                                         $-                                                                                               $-
14. Alimony, maintenance and support paid to others                                                                                                              $-
15. Payments for support of additional dependents not living at your home                                                                                        $-
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                                 $-
17. Other:          Haircuts, Hygiene,            Newspaper/Mags &                 Tuition, Books &            Childcare &               Pet
                     Eyecare, Meds                 Postage/Banking                   GLS Repay:                Babysitting               Care:
                           $90.00                          $75.00                       $510.00                      $-                 $ 20.00                  $695.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and if applicable, on
        the Stastical of Summary of Certain Liabilities and Related Data.
                                                                                                                                                                 $ 2,728.00

19. Describe any increase/decrease in expenditures anticipated to occur within the year following the filing this document:
        None



20. STATEMENT OF MONTHLY NET INCOME                                         a. Average monthly income from Line 15 of Schedule I                                 $ 6,228.15
                                                                            b. Average monthly expenses from Line 18 above                                       $ 2,728.00
                                                                            c. Monthly net income (a. minus b.)                                                  $ 3,500.14
                                                                            d. Total amount to be paid into plan monthly                                         $-

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In re
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors

 Attorney for Debtor: Juan M Villalpando




                                                        STATEMENT OF FINANCIAL AFFAIRS

                    This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information
        for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in
        business as a sole proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this
        statement concerning all such activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this
        statement. Indicate payments, transfers and the like to minor children by stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P.
        1007(m).

                   Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must
        complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is
        needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and
        the number of the question.



                                                                                       DEFINITIONS
                     "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual
        debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this
        bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity
        securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An
        individual debtor also may be “in business” for the purpose of this form if the debtor engages in a trade, business, or other activity, other than
        as an employee, to supplement income from the debtor’s primary employment.

                    "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;




            01. INCOME FROM EMPLOYMENT OR OPERATION OF BUSINESS:

            State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
            business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year
            to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this calendar
            year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal
            year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
            separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed,
            unless the spouses are separated and a joint petition is not filed.)

                         .                                            .
                      AMOUNT                                       SOURCE
                                                                   Employment
                     2007: $50,351/ytd
                       2006: $91,248
                       2005: $93,048


            Spouse


                         .                                            .
                      AMOUNT                                       SOURCE




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In re
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors

 Attorney for Debtor: Juan M Villalpando




                                                   STATEMENT OF FINANCIAL AFFAIRS


        Spouse


                     .                                         .
                  AMOUNT                                    SOURCE
                                                            Employment
                 2007: $808/ytd
                  2006: $3,000
                    2005: $0


NONE
        02. INCOME OTHER THAN FROM EMPLOYMENT OR OPERATION OF BUSINESS:
 X
        State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during
        the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each
        spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)

                     .                                         .
                  AMOUNT                                    SOURCE




NONE
        Spouse
 X

                     .                                         .
                  AMOUNT                                    SOURCE




NONE
        03. PAYMENTS TO CREDITORS:
 X
        Complete a. or b. as appropriate, and c.

        a. INDIVIDUAL OR JOINT DEBTOR(S) WITH PRIMARILY CONSUMER DEBTS: List all payments on loans, installment purchases of goods or
        services, and other debts to any creditor made within 90 days immediately proceeding the commencement of this case if the aggregate
        value of all property that constitutes or is affected by such transfer is not less than $600.00. Indicate with an asterisk (*) any payments
        that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by
        an approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
        payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

             Name and Address                                Dates of                                    Amount                                  Amount
                of Creditor                                 Payments                                      Paid                                  Still Owing




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In re
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors

 Attorney for Debtor: Juan M Villalpando




                                                   STATEMENT OF FINANCIAL AFFAIRS

NONE
        b. DEBTOR WHOSE DEBTS ARE NOT PRIMARILY CONSUMER DEBTS: List each payment or other transfer to any creditor made with 90
 X      days immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
        transfer is not less than $5,000 (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by each
        or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

             Name and Address                               Dates of                              Amount Paid or Value of                           Amount
                of Creditor                             Payment/Transfers                               Transfers                                  Still Owing




NONE
        c. ALL DEBTORS: List all payments made within 1 year immediately preceding the commencement of this case to or for the benefit of
 X      creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments be either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        Name & Address of Creditor                              Dates                             Amount Paid or Value of                           Amount
         & Relationship to Debtor                           of Payments                                 Transfers                                  Still Owing




NONE
        04. SUITS AND ADMINISTRATIVE PROCEEDINGS, EXECUTIONS, GARNISHMENTS AND ATTACHMENTS:
 X
        List all lawsuits & administrative proceedings to which the debtor is or was a party within 1 (one) year immediately preceding the filing of
        this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

               CAPTION OF                                    NATURE                                      COURT                                     STATUS
                SUIT AND                                       OF                                      OF AGENCY                                     OF
              CASE NUMBER                                  PROCEEDING                                 AND LOCATION                               DISPOSITION




NONE
        04b. WAGES OR ACCOUNTS GARNISHED: Describe all property that has been attached, garnished or seized under any legal or equitable
 X      process within (1) one year preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
        information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

        Name and Address of Person                             Date                                      Description
         for Whose Benefit Property                             of                                       and Value
                was Seized                                    Seizure                                    of Property




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In re
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors

 Attorney for Debtor: Juan M Villalpando




                                                    STATEMENT OF FINANCIAL AFFAIRS

NONE
        05. REPOSSESSION, FORECLOSURES AND RETURNS:
 X
        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
        returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

           Name and Address of                   Date of Repossession, Foreclosure                        Description and
             Creditor or Seller                       Sale, Transfer or Return                           Value of Property




NONE
        06. ASSIGNMENTS AND RECEIVERSHIPS:
 X
        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this
        case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)

                 Name and                                        Date                                       Terms of
                 Address of                                        of                                     Assignment or
                  Assignee                                    Assignment                                   Settlement




NONE
        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one (1) year immediately
 X      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                 Name and                                  Name & Location                                     Date                                    Description
                   Address                                  of Court Case                                       of                                    and Value of
                of Custodian                                Title & Number                                     Order                                    Property




NONE
        07. GIFTS:
 X
        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and
        usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less
        than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        Name and Address of Person                           Relationship                                      Date                                   Description
                   or                                         to Debtor,                                        of                                    and Value
               Organization                                     If Any                                         Gift                                     of Gift




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In re
 Jonathan David Hollifield and Amy Marie Hollifield, Debtors

 Attorney for Debtor: Juan M Villalpando




                                                  STATEMENT OF FINANCIAL AFFAIRS

NONE
        08. LOSSES:
 X
        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
        or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

               Description and                  Description of Circumstances and,                          Date
                    Value                      if Loss Was Covered in Whole or in                           of
                 of Property                    Part by Insurance, Give Particulars                        Loss




        09. PAYMENTS RELATED TO DEBT COUNSELING OR BANKRUPTCY:

        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
        concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one (1) year immediately
        preceding the commencement of this case.

                 Name and                                                                           Date of Payment,                        Amount of Money or
                  Address                                                                            Name of Payer if                         Description and
                 of Payee                                                                           Other Than Debtor                        Value of Property

                                                                                                                                              Payment/Value:
          Law Office of Peter Francis
                                                                                                                                                 3,500.00
                    Geraci
         55 E. Monroe Street #3400

                Chicago, IL60603


        09a. PAYMENTS RELATED TO DEBT COUNSELING OR BANKRUPTCY: List all payments made or property transferred by or on behalf of the
        debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of
        a petition in bankruptcy within 1 year immediately preceding the commencement of this case.

                 Name and                                                                           Date of Payment,                       Amount of Money or
                  Address                                                                            Name of Payer if                        description and
                 of Payee                                                                           Other Than Debtor                       Value of Property

                                                                                                             2007                                   $50.00
                  MMI/CCCS
               9009 W. Loop S.
              Houston, TX 77096
              Phone 866.983.2227




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 Attorney for Debtor: Juan M Villalpando




                                                    STATEMENT OF FINANCIAL AFFAIRS

NONE
        10. OTHER TRANSFERS
 X
        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
        transferred either absolutely or as security with two (2) years immediately preceding the commencement of this case. (Married debtors
        filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

           Name and Address of                                    .                                    Describe Property
          Transferee, Relationship                                .                                     Transferred and
                 to Debtor                                       Date                                   Value Received




NONE
        10b. List all property transferred by the debtor within ten (10) years immediately preceding the commencement of this case to a self-settled
 X      trust or similar device of which the debtor is a beneficiary.

                  Name of                                      Date(s)                                 Amount and Date
                  Trust or                                       of                                      of Sale or
                other Device                                 Transfer(s)                                  Closing




NONE
        11. CLOSED FINANCIAL ACCOUNTS:
 X
        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
        otherwise transferred within one (1) year immediately preceding the commencement of this case. Include checking, savings, or other
        financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
        cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

                 Name and                        Type of Account, Last Four Digits                        Amount and
                 Address of                     of Account Number, and Amount of                         Date of Sale or
                 Institution                               Final Balance                                    Closing




NONE
        12. SAFE DEPOSIT BOXES:
 X
        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
        immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
        depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

        Name and Address of Bank                Names & Addresses of Those With                          Description of                          Date of Transfer or
           or Other Depository                     Access to Box or depository                             Contents                               Surrender, if Any




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 Attorney for Debtor: Juan M Villalpando




                                                   STATEMENT OF FINANCIAL AFFAIRS

NONE
        13. SETOFFS:
 X
        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement
        of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
        not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

             Name and Address                                   Date                                      Amount
                of Creditor                                   of Setoff                                   of Setoff




NONE
        14. LIST ALL PROPERTY HELD FOR ANOTHER PERSON:
 X
        List all property owned by another person that the debtor holds or controls.

             Name and Address                             Description and                                Location
                of Owner                                 Value of Property                              of Property




NONE
        15. PRIOR ADDRESS OF DEBTOR(S):
 X
        If debtor has moved within three (3) years immediately preceding the commencement of this case, list all premises which the debtor
        occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address
        of either spouse.

                     .                                         Name                                      Dates of
                  Address                                      Used                                     Occupancy




NONE
        16. SPOUSES and FORMER SPOUSES:
 X
        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
        Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight (8) years immediately preceding the
        commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in
        the community property state.

                    Name




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 Attorney for Debtor: Juan M Villalpando




                                                    STATEMENT OF FINANCIAL AFFAIRS

NONE
        17. ENVIRONMENTAL INFORMATION:
 X
        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or
        toxic substances, wastes or material into the air, land, soil surface water, ground water, or other medium, including, but not limited to,
        statutes or regulations regulating the cleanup of the these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
        operated by the debtor, including, but not limited to, disposal sites.

        "Hazardous material" means anything defined as a hazardous waste, hazardous or toxic substances, pollutant, or contaminant, etc. under
        environmental Law.




NONE
        17a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
 X      or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
        Environmental Law:

                 Site Name                               Name and Address                                    Date                                Environmental
                and Address                             of Governmental Unit                               of Notice                                  Law




NONE
        17b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
 X      Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                 Site Name                               Name and Address                                    Date                                Environmental
                and Address                             of Governmental Unit                               of Notice                                  Law




NONE
        17c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the
 X      debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket
        number.

           Name and Address of                                 Docket                                      Status of
            Governmental Unit                                  Number                                     Disposition




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                                                    STATEMENT OF FINANCIAL AFFAIRS

NONE
         18 NATURE, LOCATION AND NAME OF BUSINESS
 X
         a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
         partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six (6) years
         immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
         within six (6) years immediately preceding the commencement of this case.

         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
         ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
         (6) years immediately preceding the commencement of this case.

         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
         ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
         (6) years immediately preceding the commencement of this case.

         Name & Last Four Digits of                                .                                         Nature                                  Beginning
        Soc. Sec. No./Complete EIN or                              .                                           of                                       and
           Other TaxPayer I.D. No.                              Address                                     Business                                Ending Dates




NONE
         b. Identify any business listed in subdivision a., above, that is "single asset real estate" as defined in 11 USC 101.
 X

                       .                                           .
                     Name                                       Address




NONE
          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
 X       has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing
         executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a
         partnership, a sole proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

          (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
         within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years
         should go directly to the signature page.)
         _________________________________________________________________________

         19. BOOKS, RECORDS AND FINANCIAL STATEMENTS:

         List all bookkeepers and accountants who within two (2) years immediately preceding the filing of this bankruptcy case kept or supervised
         the keeping of books of account and records of the debtor.

                    Name                                    Dates Services
                 and Address                                  Rendered




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                                                   STATEMENT OF FINANCIAL AFFAIRS

NONE
        19b. List all firms or individuals who within two (2) years immediately preceding the filing of this bankruptcy case have audited the books of
 X      account and records, or prepared a financial statement of the debtor.

                      .                                          .                                      Dates Services
                    Name                                      Address                                     Rendered




NONE
        19c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
 X      of the debtor. If any of the books of account and records are not available, explain.

                      .                                          .
                    Name                                      Address




NONE
        19d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
 X      issued by the debtor within two (2) years immediately preceding the commencement of this case.

                 Name and                                       Date
                  Address                                      Issued




NONE
        20. INVENTORIES
 X
        List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and
        the dollar amount and basis of each inventory.

                    Date                                      Inventory                          Dollar Amount of Inventory
                      of                                                                        (specify cost, market of other
                  Inventory                                  Supervisor                                     basis)




NONE
        b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 X

                     Date                       Name and Addresses of Custodian
                 of Inventory                         of Inventory Records




NONE
        21. CURRENT PARTNERS, OFFICERS, DIRECTORS AND SHAREHOLDERS:
 X
        a. If the debtor is a partnership, list nature and percentage of interest of each member of the partnership.

                   Name                                        Nature                                   Percentage of
                and Address                                  of Interest                                   Interest


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 Attorney for Debtor: Juan M Villalpando




                                                    STATEMENT OF FINANCIAL AFFAIRS

NONE
        21. CURRENT PARTNERS, OFFICERS, DIRECTORS AND SHAREHOLDERS:
 X
        a. If the debtor is a partnership, list nature and percentage of interest of each member of the partnership.

                    Name                                         Nature                                    Percentage of
                 and Address                                   of Interest                                    Interest




NONE
        21b. If the debtor is a corporation, list all officers & directors of the corporation; and each stockholder who directly or indirectly owns,
 X      controls, or holds 5% or more of the voting or equity securities of the corporation.

                    Name                                            .                               Nature and Percentage of
                 and Address                                      Title                                 Stock Ownership




NONE
        22. FORMER PARTNERS, OFFICERS, DIRECTORS AND SHAREHOLDERS:
 X
        If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

                      .                                            .                                         Date of
                    Name                                        Address                                     Withdrawal




NONE
        22b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one (1) year
 X      immediately preceding the commencement of this case.

                    Name                                            .                                         Date of
                 and Address                                      Title                                     Termination




NONE
        23. WITHDRAWALS FROM A PARTNERSHIP OR DISTRIBUTION BY A COPORATION:
 X
        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any
        form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
        commencement of this case.

          Name and Address of                                  Date and                               Amount of Money or
         Recipient, Relationship to                           Purpose of                             Description and value of
                   Debtor                                     Withdrawal                                     Property




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 Attorney for Debtor: Juan M Villalpando




                                                   STATEMENT OF FINANCIAL AFFAIRS

NONE
        24. TAX CONSOLIDATION GROUP:
 X
        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group
        for tax purposes of which the debtor has been a member at any time within six (6) years immediately preceding the commencement of the
        case.

                 Name of                                      Taxpayer
             Parent Corporation                     Identification Number (EIN)




NONE
        25. PENSION FUNDS:
 X
        If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
        employer, has been responsible for contributing at any time within six (6) years immediately preceding the commencement of the case.

                  Name of                                     TaxPayer
                Pension Fund                        Identification Number (EIN)




                        DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
               I declare under penalty of perjury that I have read the answers contained in the foregoing statement of
                           financial affairs and any attachment thereto and that they are true and correct.


Dated:         08/28/2007                          /s/ Jonathan David Hollifield                                                    X Date & Sign
                                                             Jonathan David Hollifield

Dated:        08/28/2007                           /s/ Amy Marie Hollifield                                                        X Date & Sign
                                                                    Amy Marie Hollifield

          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18
                                                U.S.C. Sections 152 and 3571


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 Jonathan David Hollifield and Amy Marie Hollifield / Debtors
 Attorney for Debtor: Juan M Villalpando




                                                      STATEMENT OF INTENTION
 1.     Debtor(s) have filed a schedule of assets/liabilities including consumer debts secured by property of the estate.
 2.     Debtor(s) intention with respects to their property of the estate which secures those consumer debts is as follows:
 3.     Debtor(s) understand that 521(2)(B) of the Bankruptcy Code requires that the below stated intentions must be
        performed within 45 days of filing.

                    Description of Property                                           Creditor's Name                         Intention

                                                           PROPERTY TO BE RETAINED

[x] None




 *524(c):         Debt will be reaffirmed pursuant to Sec. 524(c)
 *722:            Property is claimed as exempt and will be redeemed pursuant to Sec. 722

                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


 Dated:           08/28/2007                     /s/ Jonathan David Hollifield                                        X Date & Sign
                                                       Jonathan David Hollifield
 Dated:           08/28/2007                      /s/ Amy Marie Hollifield                                            X Date & Sign
                                                               Amy Marie Hollifield
               * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property:
                                  Fine up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.


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                                                   SUMMARY OF SCHEDULES
  Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, C,
  D, E, F, I and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the
  amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.



                                                                                                    AMOUNTS SCHEDULED
                                                            Attached
                   Name of Schedule                         YES | NO      Pages            Assets                   Liabilities           Other


 SCHEDULE A - Real Property
                                                               Yes          1            $149,000                      $-                   $-


 SCHEDULE B - Personal Property
                                                               Yes          3            $19,590                       $-                   $-


 SCHEDULE C - Property Claimed as
 Exempt                                                        Yes         1+               $-                         $-                   $-


 SCHEDULE D - Creditors Holding Secured
 Claims                                                        Yes         1+               $-                     $201,753                 $-


 SCHEDULE E - Creditors Holding
 Unsecured Priority Claims                                     Yes          2               $-                         $-                   $-


 SCHEDULE F - Creditors Holding
 Unsecured Nonpriority Claims                                  Yes         1+               $-                     $49,720                  $-


 SCHEDULE G - Executory Contracts and
 Unexpired Leases                                              Yes          1               $-                         $-                   $-


 SCHEDULE H - CoDebtors
                                                               Yes          1               $-                         $-                   $-


 SCHEDULE I - Current Income of
 Individual Debtor(s)                                          Yes          1               $-                         $-                 $6,228


 SCHEDULE J - Current Expenditures of
 Individual Debtor(s)                                          Yes          1               $-                         $-                 $2,728



                                 TOTALS                                                 $ 168,590                 $ 251,473
                                                                                       TOTAL ASSETS            TOTAL LIABILITIES




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Attorney for Debtor: Juan M Villalpando



                STATISTICAL SUMMARY OF CERTAIN LIABILITIES - 28 U.S.C. § 159
    If you are an individual debtor whose debts are primarily consumer debts as defined in 101(8) of the Bankruptcy
 Code (11 U.S.C. 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below
      Check this box if you are an individual debtor whose debts are NOT primarily consumer debts and, therefore, are
 not required to report any information here.

  This information is for statistical purposes only under 28 U.S.C § 159
  Summarize the following types of liabilities, as reported in the Schedules, and total them

                          Type of Liability                             Amount
    Domestic Support Obligations (From Schedule E)                         $0

    Taxes and Certain Other Debts Owed to
                                                                           $0
    governmental Units (From Schedule E)

    Claims for Death or Personal Injury While Debtor
    was Intoxicated (From Schedule E)                                      $0

    Student Loan Obligations (From Schedule F)                             $0

    Domestic Support Separation Agreement and Divorce
                                                                           $0
    Decree Obligations Not Reported on (Schedule E).

    Obligations to Pension or Profit Sharing and Other                     $0
    Similar Obligations (From Schedule F)

                                                         TOTAL             $0

   State the following:

   Average Income (from Schedule I, Line 16)                            $ 6,228.14

   Average Expenses (from Schedule J, Line 18)                         $ 2,728.00
   Current Monthly Income (from Form 22A Line 12; or,
                                                                       $ 6,925.63
   Form 22B Line 11; or, Form 22C Line 20)

   State the following:
   1. Total from Schedule D, "UNSECURED PORTION,
   IF ANY" column                                                                                    $ 29,728.00

   2. Total from Schedule E, "AMOUNT ENTITLED TO                        $ 0.00
   PRIORITY" column

   3. Total from Schedule E, "AMOUNT NOT
                                                                                                          $0
   ENTITLED TO PRIORITY, IF ANY" Column

   4. Total from Schedule F                                                                          $ 49,720.00

   5. Total of non-priority unsecured debt
   (sum of 1,3 and 4)                                                                                $ 79,448.00




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 Attorney for Debtor: Juan M Villalpando




                               DECLARATION CONCERNING DEBTOR'S SCHEDULES

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

 I declare under penalty of perjury that I have read the foregoing summary and schedules, and that they are true and
 correct to the best of my knowledge, information and belief. I have disclosed on the foregoing schedules all property or
 assets I may have an interest in, the correct value of it, and every debt I may be liable for. I accept the risk that some
 debts won't be discharged. I have been advised of the difference between Chapter 7 and Chapter 13, income & expense
 concepts, budgeting, and have made full disclosure.

 Debtor's attorney has advised debtor that creditors can object to discharge of their debt on a variety of grounds including
 fraud, recent credit usage, divorce and support obligations and reckless conduct.

 Debtor's attorney has advised debtor that non-dischargeable debts such as taxes, student loans, fines by government
 units and liens on property of debtor are generally unaffected by bankruptcy.


 Dated:        08/28/2007                            /s/ Jonathan David Hollifield                                                      X Date & Sign
                                                               Jonathan David Hollifield

 Dated:        08/28/2007                            /s/ Amy Marie Hollifield                                                           X Date & Sign
                                                                     Amy Marie Hollifield

                               if joint case, both spouses must sign. If NOT a joint case the joint debtor will NOT appear.


           Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18
                                                 U.S.C. Sections 152 and 3571




           DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. 110)

        Non-Attorney Petition Preparers were NOT used to prepare any portion of this petition. All documents were produced by
                                                           the Law Offices of Peter Francis Geraci.

                            THIS SECTION ONLY APPLIES TO PETITION PREPARERS AND HAS NOTHING TO DO WITH THIS CASE



              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

                          This is a personal bankruptcy for an individual(s) and NOT a corporation or partnership.

                    THIS SECTION ONLY APPLIES TO CORPORTATIONS & PARTNERSHIPS AND HAS NOTHING TO DO WITH THIS CASE



                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. Sections 152 and 3571




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                                  UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re

 Jonathan David Hollifield, and Amy Marie Hollifield / Debtors

 Attorney for Debtor: Juan M Villalpando




                                           VERIFICATION OF CREDITOR MATRIX
 The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                    I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




 Dated:         08/28/2007                    /s/ Jonathan David Hollifield                                          X Date & Sign
                                                       Jonathan David Hollifield


 Dated:         08/28/2007                    /s/ Amy Marie Hollifield
                                                                                                                     X Date & Sign
                                                            Amy Marie Hollifield

           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property:
                              Fine up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.


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                                               STATES BANKRUPTCY
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                                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re
Jonathan David Hollifield and Amy Marie Hollifield, Debtors
Attorney for Debtor: Juan M Villalpando

                                         NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S)
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit counseling services; (2)
Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about
bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case. You are
cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights
and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.
1. Services Available from Credit Counseling Agencies
            With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on or
after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides assistance in
performing a budget analysis. The briefing must be given within 180 days before bankruptcy filing. Briefing may be provided individually or in a
group (including briefings conducted by telephone or on the Internet) must be provided by nonprofit budget & credit counseling agency approved by
the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and
credit counseling agencies.
            In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management instructional
course before he or she can receive a discharge. The clerk also has a list of approved financial management instructional courses.
2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
            1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose debts are
primarily consumer debts are subject to a “means test” designed to determine whether the case should be permitted to proceed under chapter 7. If
your income is greater than the median income for your state of residence and family size, in some cases, creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
            2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
            3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed
certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the purpose for which you
filed the bankruptcy petition will be defeated.
            4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be responsible
for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement obligations; most fines,
penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death or
personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a
debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not

Chapter 13: Repayment of All or Part of Debts of an Individual with Regular Income ($235 filing fee, $39 administrative fee: Total $274)
            1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a period of
time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy Code.
            2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your income and other
factors. The court must approve your plan before it can take effect.
            3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations; most
student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your bankruptcy papers;
certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
          Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite complicated,
and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
            Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings and is similar
to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family farm or fishing
operation.
3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
             A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either orally or in
writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a debtor in connection with a
bankruptcy case is subject to examination by the Attorney General acting through the Office of the United States Trustee, the Office of the United
States Attorney, and other components and employees of the Department of Justice.
WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors, assets, liabilities,
income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not filed with the court within the
time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

I (We), the debtor(s), affirm that I (we) have received and read this notice.

                                         /s/ Jonathan David Hollifield                                                                                X Date & Sign
Dated:        08/28/2007
                                                                                            Jonathan David Hollifield
Dated:         08/28/2007               /s/ Amy Marie Hollifield
                                                                                                                                                      X Date & Sign
                                                                                                    Amy Marie Hollifield
Dated:       09/06/2007                  /s/ Juan M Villalpando
                                                                                                                          Bar No: 6285237
                                                                                                                                                      X Date & Sign
                                        Attorney: Juan M Villalpando
